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EXHIBIT A

MEI 12950134v.1
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McCARTER
& ENGLISH

ATTORNEYS AT LAW

McCarter & English, LLP
Four Gateway Center
106 Mulberry Street
Newark, NJ 07102

Tel 973.622.4444

Fax 973,624,7070
www. mccarter.cam

Tax LD, # XX-XXXXXXX

Electronic Payment Instructions
Account Name; McGarter & English, LLP

’ Account Number: 2020080016953

Financial Institution; Wells Fargo, N.A.

ACH ABA: 021200025 ,

Wire Transfer ABA: 031201467

SWIFT: PNBPUS33 (Intemational payments)
Please reference Invoice Number

February 7, 2012

- Invoice 77691 70

421032 OFFICIAL COMMITTEE OF 1114 RETIREES -
00001 NORTEL NETWORKS

~ OFFICIAL COMMITTEE OF 1114 RETIREES

- TAYLOR F. WILLIAM .
405 NORTH KING STREET
8TH FLOOR .
WILMINGTON, DE 19801
TOTAL FEES............ vunttassusstssssssesisusessessseesasssansssesees euutustussesetessssessssesssevene _ $50,019.00
TOTAL DISBURSEMENTS. ...cccccocssssssssscccsccsssssssssssssecesecccccesseccssssssssveeeveccese 152.92
TOTAL DUE THIS INVOICE ..cccsccsccsscccscccccsssscossssssssssssvesessssevesecuveccveceeeecuecees $50,171.92
AMOUNT OUTSTANDING FROM PRIOR INVOICES "$53,828.91
TOTAL AMOUNT DUE AS OF THIS INVOICE $104,000.83

Please include this page with your remittance. Thank you.
Case 09-10138-MFW Doc 7173-1 Filed 02/07/12 Page 3of15

M cc ARTE R Electronic Payment Instructions
. Account Name: McCarter & English, LLP
&E N G L| S H . . - Account Number: 2020080016953
. Financial Institution: Wells Fargo, N.A.
. ACH ABA: 021200025
ATTORNEYS AT LAW Wire Transfer ABA: 031201467
_ SWIFT: PNBPUS33 (Intemational payments)
McCarter & English, LLP . Please reference Invoice Number
Four Gateway Center . ,
400 Mulberry Street

Newark, NJ 07102

- Tel 973.622.4444

Fax 973.624.7070
www. mccarter.com
Tax ILD. #XX-XXXXXXX

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February 7, 2012
‘Invoice 7769170

121032 OFFICIAL COMMITTEE OF 1114. RETIREES
00001 NORTEL NETWORKS

OFFICIAL COMMITTEE OF 1114 RETIREES
TAYLOR F. WILLIAM

405 NORTH KING STREET

8TH FLOOR .

WILMINGTON, DE 19801

TOTAL FEES............ seveeedaenaeeneeneerseatanaeneoneeesenenees desennactocerecoqetsesseasaneeeesensentes - . $50,019.00
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AMOUNT OUTSTANDING FROM PRIOR INVOICES $53,828.91

TOTAL AMOUNT DUE AS OF THIS INVOICE $104,000.83
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121032 OFFICIAL COMMITTEE OF 1114 RETIREES
00001 NORTEL NETWORKS

Professional Services Recorded Through 01/31/2012 .

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ATTY

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O103h2 REVIEWING AND REVISING THE VEBA
PRESENTATION AND FORWARDING A COPY TO
BRIAN MOORE AND NEIL BERGER IN
ANTICIPATION OF THE PRE-MEETFING WITH THE
RETIREE COMMITTEE MEMBERS. ,

01/03/12 PARTICIPATING IN A CONFERENCE CALL WITH
- JHE PROFESSIONALS IN ANTICIPATION AND
PREPARATION FOR THE 1114 RETIREE OO
COMMITTEE MEETING.

01/03/42 _ REVIEW OF A SUMMARY OF THE HCTG CREDIT
IN PREPARATION FOR THE RETIREE COMMITTEE
MEETING. —

01/03/12 REVIEW OF EMAIL COMMUNICATION FROM
- + BRIAN MOORE AND THE PROPOSED RESPONSE
LETTER TO CLEARY REGARDING THE
DISCOVERY RESPONSES.

01/03/42 REVIEW DOCKET RE M&E FEE APPLICATION
. OBJECTION STATUS.

01/03/12 EXAMINE AND ANALYZE NUMEROUS PLEADINGS
(49 RECENT FILINGS) FILED IN CASE INORDER _
‘TO KEEP ABREAST OF STATUS IN CASE CLIENTS
ARE AFFECTED BY SAME.

01/03/12 LEGAL RESEARCH WITH RESPECT TO THE
HEALTH COVERAGE TAX CREDIT, AND RECENT
EXTENSION THEREOF.

01/03/12 PREPARE CERTIFICATE OF NO OBJECTION
REGARDING THIRD MONTHLY FEE APPLICATION
OF MCCARTER & ENGLISH;

01/04/12 REVIEW OF THE PROPOSED LETTER TO MEGAN

FLEMING AT CLEARY AND PREPARATION OF
COMMENTS THERETO; REVIEW OF COMMENTS
BY DOUG GREER.

00952/MAD

00952/MAD

00952/MAD

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421032 OFFICIAL COMMITTEE OF 1114 RETIREES

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ATTY HOURS

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01/05/12

CONFERENCE CALL WITH NEIL BERGER, BRIAN

MOORE, DOUG GREER AND RON WINTER

DISCUSSING POST-MEETING ACTION ITEMS AND
. FOLLOW-UP QUESTIONS REGARDING THE VEBA.

FURTHER EXAMINATION OF LAW REGARDING
THE REQUIREMENTS FOR THE HEALTH CARE
TAX CREDIT AND THE APPLICABILITY TO.
RETIREES AT NORTEL IN CONNECTION WITH
THE ESTABLISHMENT OF A POSSIBLE VEBA TO
FUND RETIREE MEDICAL BENEFITS (.75); REVIEW
OF VARIOUS INFORMATION REGARDING VEBAS  -
ESTABLISHED iN CONNECTION WITH THE
BANKRUPTCY SITUATION AS IT RELATES TO THE
NORTEL PROCEEDING (.50); PREPARATION FOR
THE CONFERENCE CALL WITH THE 1114
COMMITTEE MEMBERS (.75).

PARTICIPATING IN A LENGTHY MEETING OF THE
1114 COMMITTEE MEMBERS DISCUSSING THE
PROCESS AND PROCEEDING WITH RESPECT TO
THE CLAIM FOR RETIREE BENEFITS AND MAKING
A PRESENTATION TO THE COMMITTEE
REGARDING THE USE OF A VEBA TO FUND
FUTURE RETIREE MEDICAL BENEFITS,
RESPONDING TO QUESTIONS BY THE
COMMITTEE WITH RESPECT TO THE SAME, THE
HEALTH CARE TAX CREDIT APPLICABILITY AND
MECHANICS.

REVIEW, REVISE AND FINALIZE CNO FRO M&E
3RD FEE APPLICATION.

REVIEWING AND REVISING LETTER REGARDING
DISCOVERY RESPONSE; REVIEWING SECTION
1114 BANKRUPTCY CODE OVERVIEW;
REVIEWING FAS REPORTS.

CONFER WITH COUNSEL REGARDING KCC
STATEMENTS TO BE PAID;

CONDUCTING RESEARCH TO FIND
INFORMATION REGARDING THE VEBA RETIREE
HEALTH BENEFIT TRUST AGREEMENT IN
CONNECTION WITH THE-METALDYNE CORP
BANKRUPTCY.

REVIEW OF EMAIL COMMUNICATION FROM

00952/MAD , 0.50

QO952/MAD 2.00

00952/MAD 1.00

O2718/WFT » 0.30

04872/PAK 3.00

O4990/JFS — 0.30

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BRIAN MOORE REGARDING THE INFORMATION

- REQUEST STATUS FOR RETIREES ONLY;
CONSIDERATION OF ISSUES REGARDING
REVISIONS THERETO.

01/05/12 REVIEW OF EMAIL COMMUNICATION FROM 00952/MAD 0.70
DOUG GREER REGARDING ADDITIONAL
REVISIONS TO THE REQUEST FOR
INFORMATION REGARDING THE RETIREES;
REVIEW OF ATTACHMENT; CONSIDERATION OF
ADDITIONAL COMMENTS THERETO.

01/05/12 REVISE AND ELECTRONICALLY FILE 04990/JFS 0.40
CERTIFICATE OF NO OBJECTION REGARDING
THIRD MONTHLY FEE APPLICATION OF
MCCARTER & ENGLISH; PREPARE SERVICE OF
SAME;

01/06/12 CONFER AND DIRECT PARALEGAL ON PROJECT 02718/WEFT 0.30
- OF TRACKING AND ACCOUNTING FOR FEE .
APPLICATIONS FILED IN THE CASE.

01/06/12 CONFER WITH COUNSEL REGARDING oe 04990/JFS . 0.30
oo ’ DESCRIPTIONS NEEDED FOR THE KCC ,
STATEMENTS TO BE PAID;

O1/09/12 — CONFERRING WITH RESPECT TO THE — 00952/MAD 0.50
DISCOVERY RESPONSE AND THE APPENDIX AND
UPDATING THE FILE REGARDING THE SAME.

01/09/12 CONFERENCE CALL WITH BRIAN MOORE 00952/MAD 0.50
. DISCUSSING STRATEGIES WITH RESPECT TO
- THE PROPOSED TERMINATION OF THE RETIREE

MEDICAL BENEFITS AND DISCUSSING ERISA

RELATED ISSUES WITH RESPECT TO THE

BENEFITS. oo

01/09/12 CALL WITH TOGUT TO DISCUSS ACTUARIAL 02718/WFT 0.30
, CONSULTANT ISSUES AND FEE APPLICATIONS.

01/70/12 CONSIDERATION OF LEGAL ISSUES REGARDING 00952/MAD - 0.70
mo RETIREE MEDICAL BENEFITS IN THE NON-
BANKRUPTCY SITUATION IN THE EVENT FHAT
THE COMMITTEE RECEIVES NO CONTRIBUTIONS
FOR THE VEBA TRUST.

O1/41/12 CONSIDERATION OF LEGAL ISSUES REGARDING — 00952/MAD 0.50
, THE IMPLICATIONS OF TERMINATION OF THE | ,
121032 OFFICIAL COMMITTEE OF 1114 RETIREES

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DATE

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PLAN OUTSIDE THE BANKRUPTCY SITUATION
AND THE IMPLICATIONS OF THE ERISA APPEALS
PROCEDURES AVAILABLE TO PARTICIPANTS.

~ DRAFT, REVISE AND PUT IN FINAL (DRAFT)
-FORM, MASTER PLEADING INDEX TRACKING ALL

MOTIONS AND APPLICATIONS FILED BY OR FOR
THE COMMITTEE IN THIS CASE.

CONFER WITH COUNSEL REGARDING STATUS
OF FEE APPLICATIONS;

TELEPHONE CALL FROM BRIAN MOORE
DISCUSSING ISSUES RELATED TO THE VEBA |
AND THE RETIREE CLAIMS UNDER NON-
BANKRUPTCY SITUATION AND APPEALS
PROCEDURE.

CONSIDERATION OF LEGAL ISSUES REGARDING -
THE APPROPRIATE TYPE OF VENDORS FORA
PROPOSED VEBA.

DRAFT MCCARTER & ENGLISH FOURTH
MONTHLY FEE APPLICATION;

OFFICE CONSIDERATION OF ISSUES
REGARDING THEORIES OF RECOVERY IN
VARIOUS ACTIONS BROUGHT BY FORMER
EMPLOYEES CHALLENGING TERMINATION OF
ERISA-COVERED RETIREE HEALTH AND
WELFARE PLANS.

REVIEW OF INFORMATION PROVIDED BY BRIAN
MOORE REGARDING THE UPCOMING.
COMMITTEE MEETING AND PREPARATION FOR
THE SAME.

CONSIDERATION OF LEGAL ISSUES REGARDING
THE TERMS OF THE PROPOSED VEBA AND
COMMENCE REVIEW OF THE FORM OF VEBAS.

CORRESPOND AND UPDATE LEAD COUNSEL ON
RECEIPT OF FUNDS FRO COMMITTEE

. REPAYMENT AND COORDINATION OF SAME.

CONFER WITH FINANCE DEPARTMENT ON
RECEIPT OF NOTREL FUNDS AND
INVESTIGATION AS TO WHAT THEY REPRESENT.

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121032 OFFICIAL COMMITTEE OF 1114 RETIREES

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EXAMINE AND ANALYZE THE UNDERLYING DATA
CONCERNING FEES AND EXPENSES INCURRED
AND REVISE AND ADJUST SAME; REVIEW,
REVISE AND FINALIZE M&E 4TH MONTHLY FEE
APPLICATION AND APPROVE SAME FOR FILING
AND SERVICE.

CORRESPOND WITH COUNSEL ON PAYMENT
PROCEDURES FOR COMMITTEE MEMBER
REIMBURSEMENT.

REVIEW OF JUDICIAL DECISIONS INVOLVING
TERMINATION OF RETIREE HEALTH AND
WELFARE BENEFIT PLANS IN ORDER TO
DETERMINE ANY SUCCESSFUL THEORIES OF
RECOVERY.

REVISE AND ELECTRONICALLY FILE MCCARTER
& ENGLISH FOURTH MONTHLY FEE
APPLICATION; PREPARE SERVICE OF SAME;

PARTICIPATING IN THE CONFERENCE CALL WITH
THE MEMBERS OF THE RETIREE COMMITTEE
REGARDING THE CALCULATION OF THE
ESTIMATED LIABILITY FOR THE MEDICAL, LIFE
AND LONG TERM CARE BENEFITS AND OTHER
RELATED ISSUES IN CONNECTION WITH THE
PENDING ACTIONS.

REVIEW OF EMAIL COMMUNICATION AND
MATERIALS IN PREPARATION FOR THE MEETING
WITH THE RETIREES.

LETTER FO MR DONAHEE RE REIMBURSEMENT.
FOR EXPENSES INCURRED FOR THE
COMMITTEE.

REVIEW AND APPROVE PAYMENT TO MR
DONAHEE FOR COMMITTEE MEETING

EXPENSES.

EXAMINE AND ANALYZE NUMEROUS PLEADINGS
(OVER 47) FILED IN CASE IN ORDER TO KEEP
ABREAST OF STATUS IN CASE CLIENTS ARE
AFFECTED BY SAME.

CONTINUED EXAMINATION OF JUDICIAL
DECISIONS INVOLVING PARTICIPANT

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00001 NORTEL NETWORKS

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CHALLENGES TO TERMINATION OF RETIREE
HEALTH AND WELFARE PLANS.

01/192 CONFERRING WITH RESPECT TO ISSUES 00852/MAD 0,25
RELATED TO CAUSES OF ACTION FOR RETIREE
MEDICAL BENEFITS IN THE NON-BANKRUPTCY
SITUATION AS IT RELATES TO
MISREPRESENTATION OF FACTS AND OTHER
FACTUAL RELATED BASES.

01/19/12 CONTINUING REVIEW OF VARIOUS JUDICIAL 02298/JSK . 3.78
DECISIONS INVOLVING TERMINATION OF
RETIREE WELFARE BENEFIT PLANS;
PREPARATION OF DRAFT MEMORANDUM
‘REGARDING THE MATTER.

O1/2012 CONFERENCE CALL WITH BRIAN MOORE 00952/MAD * 0,50
DISCUSSING THE POSSIBLE CLAIMS FOR
BENEFITS IN THE EVENT THAT THE PLAN IS
TERMINATED SUBSEQUENT TO THE
CONFIRMATION AND THE IMPLICATIONS OF THE
SAME; OFFICE CONFERENCE DISCUSSING
THESE VARIOUS CASE LAW REGARDING
MEDICAL BENEFITS NOTWITHSTANDING A
RESERVATION OF RIGHTS CAUSE.

01/20/12 PARTICIPATING IN A LENGTHY CONFERENCE 00952/MAD 4.00
. CALL WITH MEMBERS OF THE 1114 RETIREE .
- COMMITTEE DISCUSSING THE RECENT OFFER
BY NORTEL, |

01/20/12 PARTICIPATING IN A CONFERENCE CALL WITH 00952/MAD 0.80
. TOGUT FIRM MEMBERS AND ALVAREZ MEMBERS .
DISCUSSING THE NORTEL OFFER AND
PROPOSED COURSE OF ACTION IN
CONNECTION WITH THE SAME.

01/20/12 REVIEW OF THE LETTER FROM LISA 00952/MAD- 1.00
SCHWEITZER REGARDING NORTEL'S OFFER
FOR RETIREE MEDICAL AND DISABILITY
PARTICIPANT BENEFITS; CONSIDERATION OF
LEGAL ISSUES WITH RESPECT TO THE SAME. .

01/20/12 CORRESPONDENCE FROM DEBTORS ON 02718/,WFT 0.30
PROCESS INFORMATION FOR FEE
APPLICATIONS.

01/20/12 CONTINUED REVIEW OF JUDICIAL DECISIONS 02298/JSK 675
INVOLVING TERMINATION OF ERISA-COVERED
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121032 OFFICIAL COMMITTEE OF 1114 RETIREES
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RETIREE MEDICAL PLANS.

TELEPHONE CALL WITH BRIAN MOORE

REGARDING STATUS OF THE DECISIONAL LAW
GOVERNING AN EMPLOYER'S RIGHT TO ,
TERMINATE AN ERISA-COVERED RETIREE
MEDICAL PLAN.

. PREPARE FOR AND PARTICIPATE IN

TELEPHONIC MEETINGS OF RETIREE
COMMITTEE AND ITS PROFESSIONALS
REGARDING SECTION 1114 PROPOSAL FROM
DEBTORS.

REVIEWING PLAN DOCUMENT AND 2010 AND
2011 SPDS IN CONNECTION WITH INQUIRES
REGARDING "RUN-OFF LIABILITIES."

CONFER WITH COUNSEL REGARDING
OUTSTANDING INVOICES REGARDING FEE -
APPLICATIONS;

CONSIDERATION OF LEGAL ISSUES REGARDING

“KEY PROVISIONS OF THE VEBA TRUST THAT

NEEDS TO BE CONSIDERED IN CONNECTION
WITH THE ADOPTION OF THE VEBA FOR THE
LUMP SUM PAYMENT..

CONFERRING WITH RON WINTERS REGARDING
ALTERNATIVES TO THE VEBA AND THE USE OF
THE HCTC CREDIT TO FUND THE OBLIGATIONS.

EXAMINATION OF LAW AND PREPARATION OF

BULLET LIST OF DECISIONS REGARDING

POTENTIAL RECOURSE AVAILABLE TO RETIREES

IF NORTEL TERMINATES ITS RETIREE WELFARE
BENEFIT PLAN OUTSIDE OF BANKRUPTCY.

CONSIDERATION OF LEGAL ISSUES REGARDING
THE RUNOFF LIABILITY AND THE TIMING OF
CLAIMS SUBMITTED FOR EXPENSES INCURRED
PRIOR TO THE TERMINATION OF THE PLAN.

EXAMINE AND ANALYZE LENGTHY AGENDA FOR
1/24 HEARING AND CORRESPOND WITH LEAD
COUNSEL RE SAME.

O2298/JSIK

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121032 OFFICIAL COMMITTEE OF 1114 RETIREES

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CONTINUED EXAMINATION OF LAW REGARDING
JUDICIAL DECISIONS CHALLENGING
TERMINATION OF RETIREE WELFARE PLAN
BENEFITS.

REVIEWING CLAIMS FILING PROCEDURES

. UNDER 2011 AND 2010 SPDS; SUMMARIZING

SAME IN E-MAIL TO M DANIELE.

CONFER WITH COUNSEL POSSIBLE FILING OF
PROFESSIONALS FEE APPLICATIONS;

REVIEW OF EMAIL COMMUNICATION FROM .

BRIAN MOORE REGARDING THE HL TAX CREDIT.

EXAMINE AND ANALYZE NUMEROUS PLEADINGS
(37) FILED IN CASE IN ORDER TO KEEP ABREAST
OF STATUS IN CASE CLIENTS ARE AFFECTED BY
SAME.

CONTINUED EXAMINATION OF LAW REGARDING
JUDICIAL DECISIONS PROVIDING RECOURSE TO

_ RETIREE CHALLENGING TERMINATION OF

ERISA-COVERED RETIREE WELFARE BENEFIT
PLANS.

OFFICE CONFERENCE REGARDING ISSUES
RELATED TO THE POSSIBLE CLAIMS BY
RETIREES WITH RESPECT TO THE TERMINATION
OF THE MEDICAL PLAN UNDER ERISA IN A NON-
BANKRUPTCY SITUATION; CONSIDERATION OF
LEGAL STRATEGIES IN CONNECTION WITH THE
SAME.

CONTINUED PREPARATION OF MEMORANDUM
WITH BULLET LIST OF REPRESENTATIVE
DECISIONS CHALLENGING TERMINATION OF
RETIRE WELFARE BENEFIT PLANS.

REVIEW AND ANALYZE FEE APPLICATION
DEADLINES FOR MONTHLEY'S AND QUARTERLY
FEE APPLICATION AND STATUS FILINGS FOR
BOTH TOGUT AND MCCARTER.

CORRESPOND. WITH LEAD COUNSEL ON THE
PROCEDURES AND TIMING FOR FILING ALL ©
TOGUT FEE APPLICATIONS TO DATE.

O2298/ISK

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CONTINUED PREPARATION OF MEMORANDUM

WITH LIST OF JUDICIAL DECISIONS PROVIDING
RECOURSE TO RETIREES WHOSE RETIREE
WELFARE PLAN BENEFIT COVERAGE HAS BEEN
TERMINATED. -

CONFER WITH COUNSEL REGARDING
DEADLINES TO FILE PROFESSIONALS FEE
APPLICATIONS;

REVIEW AND ANALYZE, EDIT FINALIZE AND
APPROVE FOR FILING THE 18ST QUARTERLY
TOGUT FEE APPLICATION.

REVIEW AND ANALYZE, EDIT FINALIZE AND
APPROVE FOR FILING THE 1ST TOGUT MONTHLY
FEE APPLICATION.

FURTHER CORRESPOND WITH DEBTORS RE
TIMING ISSUES FOR INTERPLAY OF MONTHLY |
AND QUARTERLY FEE APPLICATIONS FOR
TOGUT FIRM.

-CORRESPOND WITH DEBTORS ON THE

INTERPLAY AND TIMING OF MONTHLY AND
QUARTERLY FEE APPLICATIONS (AS IT RELATES

‘TO THE TOGUT FIRM).

REVIEW AND ANALYZE, EDIT FINALIZE AND

APPROVE FOR FILING THE 3RD TOGUT
MONTHLY FEE APPLICATION.

' REVIEW AND ANALYZE, EDIT FINALIZE AND

APPROVE FOR FILING THE 2ND TOGUT

~ MONTHLY FEE APPLICATION.

CONTINUED PREPARATION OF MEMORANDUM

-LISTING REPRESENTATIVE JUDICIAL DECISIONS

REGARDING RECOURSE AVAILABLE TO
RETIREES IF NORTEL TERMINATES ITS RETIREE
WELFARE BENEFIT PLAN OUTSIDE OF
BANKRUPTCY.

REVISE AND ELECTRONICALLY FILE FIRST

- SECOND AND THIRD MONTHLY FEE

APPLICATIONS OF TOGUY SEGAL & SEGAL,
CONFIRM SERVICE OF SAME;

02293/JSK

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421032 OFFICIAL COMMITTEE OF 1114 RETIREES

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ATTY HOURS

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01/31/12

TOTAL FEES
TOTAL DISBURSEMENTS

REVISE AND ELECTRONICALLY FILE FIRST
INTERIM FEE APPLICATION OF TOGUY SEGAL &
SEGAL; CONFIRM SERVICE OF SAME;

- FINALIZING MEMORANDUM REGARDING

RECOURSE RETIREES MAY HAVE SHOULD
NORTEL TERMINATE ITS RETIREE WELFARE
BENEFITS PLAN OUTSIDE OF BANKRUPTCY.

OFFICE CONFERENCE REGARDING ISSUES
RELATED TO THE MEMORANDUM OUTLINING
THE CAUSES OF ACTION FOR CLAIMS BY
RETIREES FOR THE TERMINATION OF RETIREE
MEDICAL PLAN.

REVIEWING AND REVISING MEMO TO BRIAN
MOORE REGARDING ERISA JUDICIAL DECISIONS
WITH RESPECT TO TERMINATION OF RETIREE
MEDICAL BENEFITS; COMMUNICATING WITH
BRIAN MOORE REGARDING THE SAME.

ELECTRONICALLY FILE AFFIDAVIT OF SERVICE
REGARDING SERVICE OF FIRST SECOND THIRD
MONTHLY FEE APPLICATIONS AND THE FIRST

_ INTERIM FEE APPLICATION OF TOGUT SEGAL & >

SEGAL;

FOLLOW UP WITH BRIAN MOORE REGARDING
ISSUES RELATED TO THE CAUSES OF ACTION IN
THE THIRD CIRCUIT RELATED TO THE
TERMINATION OF THE RETIREE MEDICAL PLANS.

EXAMINATION OF CASE LAW IN THE THIRD

CIRCUIT CONSIDERING THE DEVLIN V. EMPIRE
BLUE CROSS DECISION IN THE SECOND
CIRCUIT; EMAIL ADVICE REGARDING THE STATE
OF THE LAW.

TOTAL HOURS:

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ate eee e ee Eee een Ree e AG RS RA SEEN OSES ESTOS DE UR ERE DEES EEE ESE OSE

04990/JFS

02293/JSK

00952/MAD

00952/MAD

O4990/JFS

00952/MAD

02298/JSK

«scusuverusacavcascsusussassusseseessevsnssvenesussansussesucsesseyassacasesecsecassacessssoeees $50,019.00
esses 4152.92

see $50,171.92

0.40

6.00

0.50

1.50

0.30 ©

0.50

“475

118.40
Case 09-10138-MFW Doc 7173-1 Filed 02/07/12

421032 OFFICIAL COMMITTEE OF 1114 RETIREES

00001

_NORTEL NETWORKS

AMOUNT OUTSTANDING FROM PRIOR INVOICES

TOTAL AMOUNT DUE AS OF THIS INVOICE

00952

02718

02298

05147

04872

"93651

04990

» 00216

MARK A. DANIELE
‘WILLIAM F. TAYLOR, JR.

JANE 8. KIMBALL
‘SCOTT H. BERNSTEIN
PATRICIA A. KILLIAN
KEVIN A. BROWN
JARED, F. SCHIERBAUM

JAMES J. GREENSTONE

. ATTORNEY TOTALS: .

PARTNER
PARTNER

_SPEC COUNSEL

ASSOCIATE
ASSOCIATE
ASSOCIATE ©
PARALEGAL

RESRCH ANALYST

HOURS

22.20

"45.40

65.30
2.00
5.70
4.50
5.90
0.40

118.40

Hours @
Hours @

Hours @
Hours @
Hours @
Hours @

Hours @

Hours @ -

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Page 12

Invoice 7769170

$53,828.91

$104,000.83
RATE VALUE
625.00 11,655.00
625,00 8,085.00
390.00 25,467.00
370.00 740.00
380.00 2,166.00
385.00 - §77.50
215.00 1,268.50
150.00 60.00
- 50,019.06
Case 09-10138-MFW Doc 7173-1 Filed 02/07/12 Page 15 of 15

Page 13
. Invoice 7769170
121032 OFFICIAL COMMITTEE OF. 1114 RETIREES ©
00001 NORTEL NETWORKS

DATE _ DISBURSEMENTS . . "VALUE
01/05/2012 PHOTOCOPIES 3.30
01/20/2012 PHOTOCOPIES . | 10.50
01/20/2012 PHOTOCOPIES . 28.80
01/20/2012 PHOTOCOPIES - - 40.20
01/26/2012 PHOTOCOPIES . 0.15
01/26/2012 PHOTOCOPIES 0.30
| Total For: PHOTOCOPIES . "83.25
01/18/2012 “POSTAGE POSTAGE (0.44
01/20/2012 POSTAGE POSTAGE ~ . 14.91
Total For: POSTAGE 15.35
11/16/2011 DOCKET SEARCH AND DOCUMENT RETRIEVAL VIA - 2.40
PACER
11/29/2011 DOCKET SEARCH AND DOCUMENT RETRIEVAL VIA 3.92
PACER .
12/21/2011 | FILING FEES 16.32
Total For: FILING FEES-MISC 22.64
12/21/2011 LIBRARY RESEARCH - PACER | 2.40
01/04/2012 . LIBRARY RESEARCH - PACER . . 5.76
01/25/2012 LIBRARY RESEARCH 14.48
01/30/2012 LIBRARY RESEARCH 9.04 .
Total For: LIBRARY RESEARCH : oe 31.68

TOTAL DISBURSEMENTS ...ccscessescsssseceessntenenssertnsserinsnntsaressanet $152.92
